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                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

   IN RE:                                           §
                                                    §       CASE NO. 1:20-10410-HCM
   3443 ZEN GARDEN, L.P.                            §
                                                    §       Chapter 11
      DEBTOR.                                       §

                                 SUMMARY OF
                      FIRST INTERIM APPLICATION OF
                 CHAPTER 11 TRUSTEE GREGORY S. MILLIGAN
         FOR ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED
               FROM APRIL 22, 2020 THROUGH SEPTEMBER 30, 2020

              This application requests relief that may be adverse to your interests. If
              no timely response is filed within 21 days from the date of service, the
              relief requested herein may be granted without a hearing being held. A
              timely filed response is necessary for a hearing to be held.

         Gregory S. Milligan, Chapter 11 Trustee (the “Trustee”) of the bankruptcy estate (the
  “Estate”) of 3443 Zen Garden, L.P. (the “Debtor”) in the above-captioned chapter 11 case,
  submits this Summary of his First Interim Application for Allowance of Compensation for
  Services Rendered (“Application”). The following is a summary of the information detailed in the
  Application.

         I.        Applicant. Gregory S. Milligan

         II.       Capacity. Chapter 11 Trustee

         III.      Total Amount of Fees Requested to be Paid and/or Approved:

              a.     Fees Incurred: $79,936.60
              b.     Expenses Incurred: $0.00
              c.     Total Fees and Expenses: $79,936.60
              d.     Amount Previously Paid: $0
              e.     Amount Requested to be Paid under this Application: $79,936.60
              f.     Time period covered: April 22, 2020 through September 30, 2020

         IV.       BREAK OUT CURRENT APPLICATION

              Timekeeper             Title              Rate        Hours         Value
              Milligan, Gregory S.   Executive Vice     500.00      467.9        $233,950.00
                                     President



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          A.     Blended Hourly Rate: $500.00
          B.     Minimum Fee Increments: The Trustee bills time in tenth of hours.

          C.     Expenses: The Trustee is not requesting expenses incurred.

          V.     Prior Applications. The Trustee has not filed any previous Applications in this
  case.

         VI.     Other Co-equal or Administrative Claimants in this Case: N/A. Allowance of
  the Trustee’s First Interim Application will not result in the Estate not being able to pay all co-
  equal or superior administrative claims in this case.

          VII. Result Obtained. As detailed in the application, the Trustee has advanced a chapter
  11 plan and liquidated the Debtor’s principal asset (a landmark real estate development project
  (the “Project”). As embodied in the Plan, the Trustee has maximized recoveries for creditors. The
  case status and the results obtained are described in more detail in the Application. See Exhibit C
  to the Application for the hours and amount of fees billed to each project category for the
  Application Period.

          VIII. Rates. The rates sought herein are reasonable because of the complexity of the case
  and the expertise of Gregory S. Milligan, Executive Vice President at HMP Advisory Holdings,
  LLC d/b/a Harney Partners (“Harney”). Harney is a leading provider of restructuring management
  and consulting services and has successfully advised other clients in various matters, both out of
  court and as a chapter 11 court-appointed professional. The effective blended hourly rate charged
  by the Trustee is $170.84 for the Application Period, substantially lower than the rates charged by
  the Trustee on other engagements due to the limitations on compensation prescribed in section 326
  of the Bankruptcy Code.




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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

   IN RE:                                           §
                                                    §       CASE NO. 1:20-10410-HCM
   3443 ZEN GARDEN, L.P.                            §
                                                    §       Chapter 11
      DEBTOR.                                       §


                       FIRST INTERIM APPLICATION OF
                  CHAPTER 11 TRUSTEE GREGORY S. MILLIGAN
          FOR ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED
                FROM APRIL 22, 2020 THROUGH SEPTEMBER 30, 2020

                    This application requests relief that may be adverse to
                    your interests.

                    If no timely response is filed within 21 days from the date
                    of service, the relief requested herein may be granted
                    without a hearing being held.

                    A timely filed response is necessary for a hearing to be held.

         Gregory S. Milligan, Chapter 11 Trustee (the “Trustee”) of the bankruptcy estate (the

  “Estate”) of 3443 Zen Garden, L.P. (the “Debtor”) in the above-captioned chapter 11 case,

  submits his First Interim Fee Application for Allowance of Compensation for Services Rendered

  and Reimbursement for Expenses Incurred from April 22, 2020 Through September 30, 2020 (the

  “Application”), which seeks entry of an order, substantially in the form attached hereto as Exhibit

  A, pursuant to sections 326, 330 and 331 of title 11 of the United States Code (the “Bankruptcy

  Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

  Rule 2016 of the Local Rules of the United States Bankruptcy Court for the Western District of

  Texas (the “Bankruptcy Local Rules”), (i) for the allowance of compensation in the amount

  of $79,936.60 as reasonable compensation for services performed by the Trustee for the period

  April 22, 2020 Through September 30, 2020 (the “Application Period”), and (ii) authorize the


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  Trustee to pay the Trustee $79,936.60.

         This Court has jurisdiction over this Application pursuant to 28 U.S.C. §§ 157 and 1334.

  Venue for this proceeding is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409. The

  statutory predicates for the relief sought by this Application are sections 327, 328(a), 330(a), and

  331 of the Bankruptcy Code.

         In support of the Application, the Trustee would respectfully represent to the Court as

  follows:

                                          I. BACKGROUND

  A.     Bankruptcy Filing

         1.      Certain petitioning creditors (the “Petitioning Creditors”) initiated the above-

  captioned bankruptcy case (the “Case”) by filing an involuntary chapter 11 petition on March 22,

  2020 (the “Petition Date”).

         2.      This Court entered its Consent Order for Entry of Relief (ECF No. 11, the “Relief

  Order”) on April 8, 2020 (the “Relief Order Entry Date”).

         3.      On April 9, 2020, the Petitioning Creditors filed their Expedited Motion for Order

  Requiring Appointment of a Chapter 11 Trustee. See ECF No. 14. This Court entered its Order

  Requiring Appointment of a Chapter 11 Trustee on April 15, 2020. See ECF No. 27. The United

  States Trustee filed its Application for Order Approving Appointment of the Trustee (ECF No. 35,

  the “Appointment Application”) and the Court granted it (ECF No. 36, the “Appointment

  Order”) on April 22, 2020 (the “Appointment Date”).

         4.      The primary assets of the Estate were land, buildings, and other improvements

  located at 3443 Ed Bluestein Boulevard in Austin, Texas (collectively, the “Property”). See ECF

  No. 48 (the “Schedules”) at p. 8. The Property was sold via an auction and sale transaction (the



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  “Sale”) to Romspen Mortgage Limited Partnership (the “Lender”). See ECF No. 278. The Sale

  closed on October 15, 2020. See ECF No. 284.

  B.     Overview of Bankruptcy Case

         5.      Since the Trustee’s appointment, the Trustee and his professionals have focused on

  maximizing the value of the Property through preservation and enhancement tasks while preparing

  to market the Property for sale.

         6.      The Trustee and his professionals have also been active in the bankruptcy process.

  Immediately upon his appointment, the Trustee began visiting and, until closing the Sale,

  continued to visit the Property on a regular basis. With the assistance of his professionals, the

  Trustee communicated at length with the parties in interest in the Case and their counsel as well

  as brokers, vendors and service providers with preexisting knowledge and familiarity with the

  Debtor and the Property. With the assistance of his counsel and financial advisors, the Trustee

  investigated and analyzed various types of maintenance and value enhancement proposals

  identified by many parties in interest in the Case.

         7.      The Trustee ultimately determined that the Estate required financing and obtained

  such financing from the Lender. The Trustee, with the assistance of his professionals, negotiated

  the terms of the Credit Facility that enabled the Trustee to preserve and enhance the value of the

  Property.

         8.      The Trustee retained various professionals (ECF Nos. 54, 55, 63, 137, 154)

  including attorneys, a financial advisor, an accountant, and a broker to manage the marketing

  process.

         9.      In pursuit of his preservation and enhancement activities, the Trustee evaluated

  multiple financial routes to determine which would best serve the Estate. Ultimately, the Trustee



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  elected to conduct a vigorous marketing process which resulted in the Sale. The Trustee now seeks

  to confirm a liquidating plan and exit bankruptcy.

  C.     Employment and Prior Compensation

         10.     This Court appointed the Trustee pursuant to the Appointment Order on the

  Appointment Date. The Trustee has not received any retainer, nor has he previously filed any

  application for compensation or reimbursement of expenses and has not received any

  compensation or reimbursement of expenses to date. The Trustee has not entered into any

  agreement, express or implied, with any other party for the purpose of fixing or sharing fees or

  other compensation to be paid for professional services rendered in this Case except as specifically

  allowed under the Bankruptcy Code.

         11.     The Trustee has not been promised any compensation in connection with this Case

  other than in accordance with the provisions of the Bankruptcy Code.

  D.     Compensation Requested

         12.     This Application requests (i) approval of fees in the amount of $79,936.60 for the

  Application Period, and (ii) authorization for the Trustee to pay the Trustee $79,936.60.

         13.     The Trustee billed fees for professional services rendered in this Case in accordance

  with his ordinary hourly billing procedures used in similar hourly engagements. The rates the

  Trustee charged for the services he rendered in this Case are the same the Trustee charges for

  professional services rendered in comparable bankruptcy and non-bankruptcy related matters and

  are reasonable based on the customary compensation charged by comparably skilled professionals

  in comparable bankruptcy and non-bankruptcy cases in a competitive national legal market.

         14.     The fees sought by this Application during the Application Period reflect an

  aggregate of hours of the Trustee’s professional time spent and recorded in performing services

  for the Estate during the Application Period, at the hourly rate of $500.00.

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         15.       Although the Trustee has kept detailed time records in tenths of an hour, Section

  326 of the Bankruptcy limits the Trustee to $79,936.60 in compensation according to the formula

  provided therein, yielding an effective billing rate of $170.84 for the Trustee in this matter. The

  following is a summary of the Trustee’s time spent on this matter.

   Timekeeper                      Month                 Hours Worked Value of Services
   Greg Milligan                   Apr                           30.60 $         15,300.00
                                   May                          108.50 $         54,250.00
                                   Jun                          108.70 $         54,350.00
                                   Jul                           77.20 $         38,600.00
                                   Aug                           52.20 $         26,100.00
                                   Sep                           90.70 $         45,350.00
                                   Grand Total                  467.90 $        233,950.00

         16.       The Trustee submits that this Application complies with sections 326, 330, and 331

  of the Bankruptcy Code, the Bankruptcy Rules, the Bankruptcy Local Rules and the United States

  Trustee Guidelines.

                                   II. FEE AND COST RECORDS

         17.       In support of this Application, the following documents are attached:

                          As a cover sheet, a Fee Application Summary (the “Fee Application
                          Summary”), which includes a summary describing services rendered by
                          category and the total cost of each category of services by professional is
                          attached to the front of this Application;

                          As Exhibit B, a copy of the Appointment Order;

                          As Exhibit C, a summary of the Trustee’s time expended in the rendition
                          of the administrative services the Estate required;

                          As Exhibit D, a summary of Mr. Milligan’s qualifications, experience and
                          credentials.

         18.       During the Application Period, the Trustee has primarily focused his efforts in the

  following areas: (a) assuming control over the Estate, specifically including the Property, (b)

  evaluating the Debtor’s general contractor and potential alternatives for providing Property



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  maintenance during the Case, (c) soliciting and evaluating proposals for financing the preservation

  and enhancement of the Property, (d) investigating and analyzing the Debtor’s potential claims

  against the Lender and others, (e) commencing and coordinating a marketing and sale process for

  the Property, (f) beginning to draft a liquidating plan and disclosure statement to conclude the

  Case, (g) preparing reports required by the Bankruptcy Code and Rules and Orders of this Court,

  and (h) retaining professionals to assist in the forgoing.

          19.    The time records of the Trustee’s professionals are consistent with the Trustee’s

  time spent on this Case and demonstrate the complexity and difficulty attendant to administering

  this Estate.

                                      III. LEGAL STANDARDS

          20.    Pursuant to section 330 of the Bankruptcy Code, this Court may award to the

  Trustee under section 326 reasonable compensation for services rendered and reimbursement for

  actual, necessary expenses incurred. Section 326 of the Bankruptcy Code limits the compensation

  allowable to the Trustee. See 11 U.S.C. § 330(a)(1). Section 326(a) provides the following formula

  to determine the maximum compensation allowable to a chapter 11 trustee based on the amount

  of “all moneys disbursed or turned over in the case by the trustee to parties in interest, excluding

  the debtor, but including holders of secured claims”:

                        25% of the first $5,000 disbursed;

                        10% of moneys disbursed of $5,001 - $50,000;

                        5% of moneys disbursed of $50,001 - $1,000,000; and

                        3% of moneys disbursed in excess of $1,000,000.

          21.    The Trustee has not turned over any property to the Debtor in this Case.

          22.    The Trustee has filed Monthly Operating Reports during the Case since the

  Appointment Date for each month in the Application Period. See ECF Nos. 64 (April 2020), 126

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  (May 2020), 158 (June 2020), 179 (July 2020), 223 (August 2020) & 285 (September 2020)

  (collectively, the “MORs”). The MORs contain records of the Trustee’s disbursements during the

  Application Period, as follows:

                         MOR Period                  Disbursements
                         April 2020                  $         0.00
                         May 2020                    $   167,208.90
                         June 2020                   $   154,796.89
                         July 2020                   $ 613,159.56
                         August 2020                 $   563,958.56
                         September 2020              $   390,429.41
                                              Total: $ 1,889,553.32

  Based on the Trustee’s disbursements during the Application Period, the maximum compensation

  allowable to the Trustee under Bankruptcy Code section 326(a) is $79,936.60, calculated as

  follows:

                                                Total Disbursements                       $   1,889,553.32
    $           0.00       $       5,000.00     $        5,000.00        @ 25% =          $       1,250.00
    $       5,000.01       $      50,000.00     $      45,000.00         @ 10% =          $       4,500.00
    $      50,000.01       $   1,000,000.00     $     950,000.00         @ 5%        =    $      47,500.00
    $   1,000,000.01              Above         $     889,553.32         @ 3%        =    $      26,686.60
                                                                      Total Trustee Fee   $      79,936.60

          23.     The compensation requested by the Trustee herein is less than the amount the

  Trustee would be entitled to seek absent the limitations of section 326 of the Bankruptcy Code.

  The Trustee billed a total of 467.9 hours for services rendered during the Application Period. Based

  on the Trustee's standard hourly rate of $500.00, the Trustee rendered a total of $233,950.00 in

  services during the Application Period, which would be a reasonable fee for such services. Under

  the limitations of section 326, a maximum of $79,936.60 is allowable to the Trustee at this time.

  Therefore, the compensation sought by the Trustee is reasonable and represents a substantial

  bargain for the services rendered.

          24.     The Trustee’s compensation is determined based upon the percentages set forth in

  section 326 rather than a fact-based assessment of the Trustee’s services. See 11 U.S.C. §

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  330(a)(7); Lejeune v. JFK Capital Hldgs., LLC (In re JFK Capital Hldgs. LLC), 880 F.3d 747,

  754-55 (5th Cir. 2018). Nevertheless, the Trustee asserts that the compensation requested herein

  is reasonable under a broader section 330(a) analysis, as follows.

         25.     The Court may award a chapter 11 trustee “reasonable compensation for actual,

  necessary services” and “reimbursement for actual, necessary expenses.” 11 U.S.C. § 330(a)(1).

  In determining the reasonableness of the proposed fee award, the Court is directed by section

  330(a)(3) of the Bankruptcy Code to consider (a) the time spent, (b) the rates charged, (c) whether

  the services were necessary to the administration of or beneficial to the case; (d) whether the

  services were performed within a reasonable time, given the complexity, importance, and nature

  of the task; (e) whether the professional person is board certified or otherwise has demonstrated

  skill and experience in the bankruptcy field; and (f) whether the compensation is reasonable based

  on the customary compensation charged by comparably skilled practitioners. 11 U.S.C.

  § 330(a)(3).

         26.     The Fifth Circuit has “made clear that the lodestar, Johnson factors, and § 330 [of

  the Bankruptcy Code] coalesce[ ] to form the framework that regulates the compensation of

  professionals employed by the bankruptcy estate.” In re Pilgrim's Pride, 690 F.3d 650, 656 (5th

  Cir. 2012).

         27.     “Under this framework, bankruptcy courts must first calculate the amount of the

  lodestar.” Id. To apply the lodestar approach, the Court determines a reasonable fee in a case by

  multiplying the number of hours expended by an hourly rate. Pennsylvania v. Delaware Valley

  Citizens' Counsel for Clean Air, 478 U.S. 456 (1987).

         28.     After calculating the lodestar, the Court “then may adjust the lodestar up or down

  based on the factors contained in § 330 and [its] consideration of the twelve factors listed in



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  Johnson.” Pilgrim's Pride, 690 F.3d at 656 (quoting In re Cahill, 428 F.3d 536, 540 (5th Cir.

  2005)).

            29.   Section 330 of the Bankruptcy Code instructs the Court to “tak[e] into account all

  relevant factors, including—

                         The time spent on such services;

                         The rates charged for such services;

                         Whether the services were necessary to the administration of, or
                         beneficial at the time at which the service was rendered toward the
                         completion of, a case under this title;

                         Whether the services were performed within a reasonable amount of
                         time commensurate with the complexity, importance, and nature of
                         the problem, issue, or task addressed;

                         With respect to a professional person, whether the person is board
                         certified or otherwise has demonstrated skill and experience in the
                         bankruptcy field; and

                         Whether the compensation is reasonable based on the customary
                         compensation charged by comparably skilled practitioners in cases
                         other than cases under this title.

  Pilgrim's Pride, 690 F.3d at 655-56 (quoting 11 U.S.C. § 330(a)(3)).

            30.   The twelve Johnson factors include the time and labor required; the novelty and

  difficulty of the questions; the skill requisite to perform the professional service properly; the

  preclusion of other employment by the professional due to acceptance of the case; the customary

  fee; whether the fee is fixed or contingent; time limitations imposed by the client or circumstances;

  the amount involved and the results obtained; the experience, reputation and ability of the

  professional; the undesirability of the case; the nature and length of the profession of relationship

  with the client; and awards in similar cases. See Johnson v. Georgia Highway Express, Inc., 488

  F.2d 714, 717-19 (5th Cir. 1974).



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           31.    Under each of the guidelines, the Trustee submits the compensation requested

  herein is fair and reasonable.

                               IV. APPLICATION OF GUIDELINES

           32.    As required by the first step of the two-step analysis imposed by section 330(a)(1)

  analysis, all services the Trustee rendered in this Case were necessary and appropriate. The

  Trustee’s actions preserved and enhanced the value of the Estate’s assets for creditors.

           33.    Likewise, with respect to the second step of the analysis, the compensation sought

  by the Trustee is competitive. The issues in this bankruptcy case have been addressed promptly,

  properly and with no duplication. The time and labor the Trustee devoted to the Case were

  reasonable and necessary to carry out his statutory and fiduciary duties as Chapter 11 Trustee.

           34.    Under the lodestar method, in aggregate, the Trustee rendered during the

  Application Period 467.9 hours of service at an hourly rate of $500.00. The Trustee has provided

  effective and efficient administration of the Estate.

           35.    The twelve Johnson factors also support approval of the fees requested in these

  cases.

  a.       Time and Labor Required. The Trustee expended 467.9 hours administering the Estate
           in the Application Period. The time and labor expended was reasonable and necessary
           to carry out the Trustee’s statutory and fiduciary duties to the Estate.

  b.       Novelty and Difficulty of the Questions. The size and complexity of this Case involved
           difficult issues and negotiations with many different parties, as well as complex
           administrative budgeting and reporting tasks. Because of its complexity, this Case
           required a trained bankruptcy professional with a specialized background in
           reorganizations to act as Trustee.

  c.       Skill Required. This Case requires a high amount of skill because of its size, speed and
           the need to, among other things, negotiate a variety of complicated issues that arose
           with various parties in interest. This Case required a trained bankruptcy professional
           with a specialized background in reorganizations to act as Trustee.

  d.       Preclusion of Other Employment. The Trustee’s acceptance of his appointment as
           Chapter 11 Trustee for the Debtor frequently required the Trustee to address numerous

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             matters on an immediate or expedited basis, thereby requiring the Trustee to commit all
             or a substantial portion of his time to his duties in this Case, at the expense of other
             potential engagements.

  e.         Customary Fee. If this Case were not one under the Bankruptcy Code, the Trustee would
             charge and expect to receive on a current basis, an amount at least equal to the amounts
             herein requested for the professional services rendered. The rates the Trustee charged
             in this Case are either standard rates or rates that are reduced from standard rates for the
             respective timekeepers. The Trustee represents and would demonstrate that the fees are
             competitive for this region and customary for the degree of skill and expertise required
             by other experienced restructuring practitioners and professionals in this district.

  f.         Fixed or Contingent Fee. The Trustee accepted this Case pursuant to the Bankruptcy
             Code according to the Appointment Order which was entered by the Bankruptcy Court.
             Due to the uncertainties of the bankruptcy process, collection of all amounts beyond the
             initial retainer (which the Trustee does not have in this Case) are, by their nature,
             contingent. In this Case in particular, the Lender asserted a secured claim far in excess
             of the value of the Estate’s assets, and so recovery in this Case was certainly contingent
             on effectively negotiating with the Lender to settle its claims while also providing for
             the payment of administrative expenses and a recovery for unsecured creditors. Because
             these negotiations obviously could not begin until the Trustee accepted his appointment,
             the Trustee’s recovery in this Case was contingent.

  g.         Time Limitations. As this Court is aware, “emergency” motions have been filed in this
             Case. Thus, the Trustee has been required to attend to various issues as they have arisen,
             often immediately or on a short time frame. The Trustee has had to perform many of his
             services to the Estate under significant time constrains.

  h.         Amounts and Results. The Trustee preserved the Estate’s assets and maximized the
             recovery from those assets, which were ultimately liquidated for a $45 million credit
             bid. The Trustee also worked to negotiated reductions to the claims of some of the
             largest creditors of the Estate. Ultimately, the Trustee anticipates there will be a
             substantial return to non-insider general unsecured creditors in this Case.

  i.         Experience, Reputation and Ability. Mr. Milligan is highly experienced in restructuring,
             bankruptcy administration, and receivership services, and has been actively involved in
             many bankruptcy cases in the Western District of Texas and elsewhere. Attached as
             Exhibit D is a summary of Mr. Milligan’s qualifications, experience, and credentials.

  j.         Undesirability of the Case. The contingent nature of potential recoveries for claimants
             in the Case at the outset was an undesirable feature that the Trustee was able to
             overcome through his administration of the Estate.

  k.         Relationship with Client. As disclosed in the Retention Application, the Trustee is an
             Executive Vice President at Harney, although the Trustee did not bill any time to the
             matter as financial advisor to the Trustee via Harney. The Trustee has also worked with


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             many of the other professionals in this Case, all as more fully disclosed in the
             Appointment Application and related disclosures.

  l.         Awards in Similar Cases. The compensation the Trustee seeks in this Case is
             commensurate with the rates sought by professionals in other cases in this district, even
             before the limitations imposed by section 326 of the Bankruptcy Code.

                                              V. CONCLUSION

  For the foregoing reasons, the Trustee requests that the Court:

             (i)     grant approval of all fees in the amount of $79,936.60 for the entire case;

             (ii)    authorize and direct the Trustee to pay the outstanding balance due of $79,936.60;

  and

             (iii)   such other relief as the Court deems just and proper.


  Dated: November 10, 2020                           /s/ Scott D. Lawrence
                                                    Jason M. Rudd, Tex. Bar No. 24028786
                                                    Scott D. Lawrence, Tex. Bar No. 24087896
                                                    Daniella G. Heringer, Tex. Bar No. 24103460
                                                    WICK PHILLIPS GOULD & MARTIN, LLP
                                                    3131 McKinney Avenue, Suite 100
                                                    Dallas, Texas 75204
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                                                    scott.lawrence@wickphillips.com
                                                    daniella.heringer@wickphillips.com

                                                    COUNSEL FOR GREGORY MILLIGAN,
                                                    CH. 11 TRUSTEE FOR 3443 ZEN GARDEN, L.P.

                                        CERTIFICATE OF SERVICE

          I certify that on November 10, 2020, a true and correct copy of the forgoing was served on
  the parties listed on the attached service list, either via ECF or United States First Class mail as
  indicated therein.
                                                  /s/ Scott D. Lawrence




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                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

      IN RE:                                          §
                                                      §        CASE NO. 1:20-10410-HCM
      3443 ZEN GARDEN, L.P.                           §
                                                      §        Chapter 11
         DEBTOR.                                      §
                                 ORDER GRANTING
                         FIRST INTERIM APPLICATION OF
                    CHAPTER 11 TRUSTEE GREGORY S. MILLIGAN
            FOR ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED
                  FROM APRIL 22, 2020 THROUGH SEPTEMBER 30, 2020


            The Court has considered Chapter 11 Trustee Gregory S. Milligan’s First Interim

  Application for Allowance of Compensation for Services Rendered from April 22, 2020 through

  September 30, 2020 (the “Application”)1 The Court finds that (i) it has jurisdiction over the

  matters raised in the Application pursuant to 28 U.S.C. §§ 157 and 1334; (ii) this is a core

  proceeding pursuant to 28 U.S.C. § 157(b)(2); (iii) the relief requested in the Application is in the



  1
   Capitalized terms unless otherwise defined herein shall have the same meaning as ascribed to them in the
  Application.

      ORDER GRANTING FIRST INTERIM FEE APPLICATION OF CHAPTER 11 TRUSTEE                   PAGE 1 OF 2
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  best interests of the Estate and its creditors; (iv) proper and adequate notice of the Application and

  the hearing thereon has been given and that no other or further notice is necessary; (v) the services

  of the Trustee as Chapter 11 Trustee for the Estate resulted in significant benefit and value to the

  Estate; and (vi) upon the record, after due deliberation, good and sufficient cause exists for the

  granting of the relief as set forth herein.

          IT IS, THEREFORE, ORDERED that the Application is hereby granted.

          IT IS FURTHER ORDERED that the Trustee is hereby awarded and allowed, on an interim

  basis, fees in the amount of $79,936.60 for the period April 22, 2020 through September 30, 2020.

          IT IS FURTHER ORDERED that the Trustee is authorized to pay the Trustee $79,936.60.

          IT IS FURTHER ORDERED that the Court shall retain jurisdiction over any dispute

  arising from or relating to the implementation of this Order.

                                                    ###


  PREPARED AND SUBMITTED BY:

  Jason M. Rudd, Tex. Bar No. 24028786
  Scott D. Lawrence, Tex. Bar No. 24087896
  Daniella G. Heringer, Tex. Bar No. 24103460
  WICK PHILLIPS GOULD & MARTIN, LLP
  3131 McKinney Avenue, Suite 100
  Dallas, Texas 75204
  Telephone: (214) 692-6200
  Facsimile: (214) 692-6255
  jason.rudd@wickphillips.com
  scott.lawrence@wickphillips.com
  daniella.heringer@wickphillips.com

  COUNSEL FOR GREGORY MILLIGAN,
  CH. 11 TRUSTEE FOR 3443 ZEN GARDEN, L.P.




   ORDER GRANTING FIRST INTERIM FEE APPLICATION OF CHAPTER 11 TRUSTEE                    PAGE 2 OF 2
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                         EXHIBIT B
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               Doc#303Filed
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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: April 22, 2020.

                                                         __________________________________
                                                                H. CHRISTOPHER MOTT
                                                         UNITED STATES BANKRUPTCY JUDGE
  ________________________________________________________________


                                 UNITED STATES BANKRUPTCY COURT
                                    WESTERN DISTRICT OF TEXAS
                                         AUSTIN DIVISION

   IN RE:                                          §
                                                   §
   3443 ZEN GARDEN, L.P.                           §           CASE NO. 20-10410-HCM
                                                   §
   DEBTOR.                                         §           Chapter 11

                ORDER APPROVING APOINTMENT OF CHAPTER 11 TRUSTEE

             The Court having considered the Application of the United States Trustee for entry of an
   Order approving appointment of Gregory S. Milligan as Chapter 11 Trustee in the above-captioned
   case, it is hereby

            ORDERED that the appointment is approved.


                                                ###



   Order submitted by
   Shane P. Tobin
   Office of the United States Trustee
   903 San Jacinto, Ste. 230
   Austin, TX 78701
   (512) 916-5348
   shane.p.tobin@usdoj.gov
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                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION
   IN RE:                                        §
                                                 §        CASE NO. 1:20-10410-HCM
   3443 ZEN GARDEN, L.P.                         §
                                                 §        Chapter 11
                 DEBTOR.                         §

      NOTICE OF ACCEPTANCE OF APPOINTMENT AS CHAPTER 11 TRUSTEE

         PLEASE TAKE NOTICE that on April 22, 2020, this Court’s Order Approving

  Appointment of the Trustee (ECF No. 36) approved Gregory S. Milligan’s appointment as chapter

  11 trustee of the bankruptcy estate of 3443 Zen Garden L.P.

         PLEASE TAKE FURTHER NOTICE that, in accordance with Bankruptcy Rule 2008,

  Gregory S. Milligan hereby provides notice to the Court and to the United States Trustee that he

  has accepted this appointment.

         Dated April 23, 2020                  /s/ Gregory S. Milligan
                                              Executive Vice President
                                              Harney Partners
                                              P. O. Box 90099
                                              Austin, Texas 78709-0099
                                              (512) 892-0803
                                              gmilligan@harneypartners.com
                                              CHAPTER 11 TRUSTEE FOR
                                              3443 ZEN GARDEN, L.P.

                                   CERTIFICATE OF SERVICE

         I certify that on April 23, 2020, a true and correct copy of the forgoing was served on
  counsel to the United States Trustee via email and the Court via ECF.

                                              /s/ Scott D. Lawrence




   NOTICE OF ACCEPTANCE OF APPOINTMENT AS CHAPTER 11 TRUSTEE                          PAGE 1 OF 1
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                         EXHIBIT C
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 Timekeeper      Month         Hours Worked     Value of Services
 Greg Milligan   Apr                    30.60    $         15,300.00
                 May                   108.50    $         54,250.00
                 Jun                   108.70    $         54,350.00
                 Jul                    77.20    $         38,600.00
                 Aug                    52.20    $         26,100.00
                 Sep                    90.70    $         45,350.00
                 Grand Total           467.90    $       233,950.00
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                         EXHIBIT D
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Gregory S. Milligan, CTP
Executive Vice President
                                                                                                                     Home   Professionals   Gregory S. Milligan, CTP




For more than 25 years, and with engagements involving onsite advisory to clients in more than 25 states and multiple foreign countries, Greg has
maintained a practice surrounding troubled situations or situations that require fiduciary oversight. He joined Harney Partners in 1998 and opened the
Austin office in 2001. Since that time, he has both led and collaborated on engagements with highly successful outcomes, meriting multiple peer-review
awards from the Turnaround Management Association and the M&A Advisor.

The common thread which runs throughout Greg’s career is his ability to enter a new and troubled situation to quickly develop an understanding of the
situation, identify the key resources needed to achieve the best possible outcome, develop multiple strategic alternatives toward that outcome, and
manage the personnel and other resources required to execute the selected plan – all while developing working relationships with necessary stakeholder
constituencies.

Representative Roles:

Greg has served both inside and outside of court proceedings in a number of different roles as demonstrated below:

  Chief Restructuring Officer                                               State Court Receiver

  Chapter 11 Operating Trustee                                              Court-Appointed Director

  Chapter 11 Post-Confirmation Trustee                                      Court-Appointed Neutral

  Restructuring Advisor                                                     Independent Board Member

  Chapter 7 Trustee                                                         Liquidation Agent




         Chief Restructuring Officer


         Restructuring Advisor (Out-of-Court)


         Restructuring Advisor (Chapter 11)


         Chapter 11 Operating Trustee


         Chapter 11 Post-Confirmation Trustee and Plan Trustee


         State Court Receiver


         Orderly Wind Down + Liquidation Agent


         Federal Court Receiver


         Court-Appointed Neutral
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      U.S. Bankruptcy Court             3443 Zen Garden, LP          United States Trustee (SMG111)
     903 San Jacinto, Suite 322        3443 Ed Bluestein Blvd.        903 San Jacinto Blvd, Suite 230
      Austin, TX 78701-2450            Austin, TX 78721-2912             Austin, TX 78701-2450


     3443 Zen Garden GP, LLC                      ABC Supply Co Inc.                           Adam Zarafshani
   c/o Rob Roy Parnell, Receiver                   P.O. Box 840899                     3443 Ed Bluestein Blvd., Building V
        241 McKellar Road                        Dallas, TX 75284-8099                       Austin, TX 78721-2912
    Dripping Springs, TX 78620

        ABC Supply Co., Inc.                     ACM Services, LLC                            ACM Services, LLC
        c/o Andrew Myers, PC                    c/o Kell C. Mercer, PC                          c/o Nick Morris
        Attn: Lisa M. Norman
   1885 Saint James Place, 15th Floor
                                              1602 E. Cesar Chavez Street                         3280 FM 112
       Houston, TX 77056-4176                   Austin, TX 78702-4456                        Taylor, TX 76574-4520
          SERVED VIA ECF                          SERVED VIA ECF                              SERVED VIA ECF
             Aero Photo                             Ahern Rentals                            Allied Sales Company
       4000 16th Street North                      P.O. Box 271390                               P.O. Box 6116
      St. Petersburg, FL 33703                Las Vegas, NV 89127-1390                       Austin, TX 78762-6116


                                                 Austin Glass & Mirror                     Austin Glass & Mirror, Inc.
Austin Commercial & Residential Plumbing           6308 Decker Lane                          c/o Kell C. Mercer, PC
      2407 S. Congress Ave, Ste132
         Austin, TX 78704-5505
                                                 Austin, TX 78724-5102                    1602 E. Cesar Chavez Street
                                                  SERVED VIA ECF                            Austin, TX 78702-4456
                                                                                               SERVED VIA ECF
                BPI                            Blu Fish Collaborative, Inc.                 Capital Industries, LLC
          P.O. Box 405300                           P.O. Box 40792                           c/o Kell C. Mercer, PC
      Atlanta, GA 30384-5300                    Austin, TX 78704-0014                     1602 E. Cesar Chavez Street
                                                                                            Austin, TX 78702-4456
                                                                                              SERVED VIA ECF
       Capital Pumping, LP                           Capital Pumping, LP                     Christopher G Burwell
     3200 Steck Ave, Suite 220                     c/o Stephanie O’Rourke                       230 Pereida Street
                                                       Cokinos Young
      Austin, TX 78757-8032                     10999 IH 10 West, Suite 800
                                                                                          San Antonio, TX 78210-1145
        SERVED VIA ECF                         San Antonio, Texas 78230-1349                   SERVED VIA ECF
                                                     SERVED VIA ECF
      Capital Industries, LLC                  CT Laborers Electric, LLC                         City of Austin
     2105 Donley Dr., Ste. 200                     188 Alaska Road                             c/o Anne Morgan
      Austin, TX 78758-4510                     Uhland, TX 78640-6644                          301 W. 2nd Street
                                                                                             Austin, TX 78701-4652

DM’s Construction Equipment Repair            Eightfold Development, LLC                       Equipment Share
        518 Yucca Drive                    3443 Ed Bluestein Blvd., Building V         2511 Broadway Bluffs Dr., Ste. 202
  Round Rock, TX 78681-7411                      Austin, TX 78721-2912                    Columbia, MO 65201-8142


               Dan White                             Dan White, Individually                  Equipmentshare.com, Inc.
         c/o Jeffrey M Tillotson                     Dan White Family Trust                   c/o Richard J. Wallace, III
              Tillotson Law                 c/o Deborah D. Williamson,Dykema Gossett             Scheef & Stone LLP
      1807 Ross Avenue, Suite 325                     112 E. Pecan St #1800                   500 N. Akard, Suite 2700
                                                 San Antonio, TX 78205-1521
        Dallas, TX 75201-8040                                                                  Dallas, TX 75201-3306
                                                       SERVED VIA ECF
           SERVED VIA ECF                                                                        SERVED VIA ECF
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     Ferguson Enterprises Inc.      Ferguson Enterprises, LLC         Ferguson Enterprises, LLC
         2551 North Mays              c/o Anthony F. Ciccone             c/o Misti L. Beanland
   Round Rock, TX 78665-2411            611 West 14th Street         8131 LBJ Freeway, Suite 700
        SERVED VIA ECF                Austin, TX 78701-1725                Dallas, TX 75251
                                        SERVED VIA ECF                    SERVED VIA ECF
     Ferguson Waterworks, LLC      Fritz, Byrne, Head & Gilstrap           Frontier Plastering
   #1106 4427 Factory Hill Drive   221 West Sixth Street, Ste 960            P.O. Box 1455
    San Antonio, TX 78219-2704        Austin, TX 78701-3444             Elgin, TX 78621-1455


          GSC Architects                         Great Lakes Lifting Solutions                        Hilti Inc.
    3100 Alvinn Devanne Bldg. A                       4910 Wilshire Blvd.                        P.O. Box 650756
             Ste. 200-B                        Country Club Hills, IL 60478-3153               Dallas, TX 75265-0756
       Austin, TX 78741-7406


 Fritz, Byrne, Head & Gilstrap, PLLC                  Glass.com of Illinois             H&H Crane Services, Inc. dba Texas Crane Svc
                                                                                                  c/o Robert L. Barrows
       Attn: Lisa C. Fancher                        910 Riverside Dr., Unit 4                Warren, Drugan & Barrows, P.C.
  221 West Sixth Street, Suite 960                  Elmhurst, IL 60126-4979                     800 Broadway, Suite 200
      Austin, TX 78701-3444                           SERVED VIA ECF                          San Antonio, TX 78215-1241
       SERVED VIA ECF                                                                              SERVED VIA ECF
H&H Crane Services, Inc. dba Texas Crane Svc             Hays County                       Hill Country Electric Supply
             c/o Sam Drugan
     Warren, Drugan & Barrows, P.C.                     c/o Tara LeDay                            P.O. Box 577
        800 Broadway, Suite 200                         P.O. Box 1269                      San Antonio, TX 78292-0577
      San Antonio, TX 78215-1241                  Round Rock, TX 78680-1269                     SERVED VIA ECF
           SERVED VIA ECF
                                                      SERVED VIA ECF
   Hinshaw & Culbertson LLP                              Hollandstone                             Hull Supply, Inc.
 151 North Franklin St., Ste. 2500                     P.O. Box 50058                          5117 East Cesar Chavez
     Chicago, IL 60606-1915                         Austin, TX 78763-0058                      Austin, TX 78702-5142


 Hill Country Electric Supply, LP              Koetter Fire Protection of Austin, LLC   Koetter Fire Protection of Austin, LLC
      c/o Kell C. Mercer, PC                    16069 Central Commerce Drive                  c/o Kell C. Mercer, PC
  1602 E. Cesar Chavez Street                    Pflugerville, TX 78660-2005                1602 E. Cesar Chavez Street
      Austin, TX 78702-4456                          SERVED VIA ECF                           Austin, TX 78702-4456
        SERVED VIA ECF                                                                          SERVED VIA ECF
          Jeremie Schultz                            Keytech North America                      MLA Geotechnical
         6555 Hwy 140 W                             20 PGA Drive Suite 201                 2800 Longhorn Blvd Suite 104
     Puryear, TN 38251-3943                         Stafford, VA 22554-8218                   Austin, TX 78758-7624


        Lone Star Materials                            Lone Star Materials, Inc.               Lyle America, Inc.
         11111 Bluff Bend                              c/o Dennis A. McQueen               d/b/a Glass.com of Illinois
                                                       Pagel, Davis & Hill, P.C.
       Austin, TX 78753-3221                          1415 Louisiana, 22nd Floor
                                                                                          1602 E. Cesar Chavez Street
        SERVED VIA ECF                                Houston, TX 77002-7344                Austin, TX 78702-4456
                                                         SERVED VIA ECF                       SERVED VIA ECF
  MOHD Service Solutions LLC                        Mark Schiffgens, CPA                McMinn Land Surveying Company
  3701 E. Plano Parkway Ste 400                  100 E. Anderson Lane Ste 250              4008 Greenmountain Lane
     Plano, TX 75074-1806                           Austin, TX 78752-1233                   Austin, TX 78759-7570
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     Mint Engineering, LLC         Mobile Mini Storage Solutions            NLB Corp.
   5130 Mansfield View Court    4646 East Van Buren Street Suite 400     29830 Beck Road
     Austin, TX 78732-1854           Phoenix, AZ 85008-6927           Wixom, MI 48393-2824


          Nathan Olson                 Oldcastle Materials, Inc Texas Concrete           Paradigm Glass
     11308 Wet Season Dr.                  1320 Arrow Point Dr. Ste 600             9603 Saunders Lane, #B-2
     Austin, TX 78754-5855                  Cedar Park, TX 78613-2189                Austin, TX 78758-5230


Panache Development & Construction     Panache Development & Construction, Inc.     Praxair Distribution, Inc.
         P.O. Box 26539                         1100 Norwood Tower                 Dept 0812 P.O. Box 120812
      Austin, TX 78755-0539                       114 W. 7th Street
                                               Austin, TX 78701-3000
                                                                                     Dallas, TX 75312-0812
        SERVED VIA ECF
                                                 SERVED VIA ECF

Professional StruCivil Engineering             Professional Flooring               Ram Tool & Supply Co, Inc
 12710 Research Blvd., Suite 390                  P.O. Box 7558                           Attn: Legal
     Austin, TX 78759-4380                  Fort Worth, TX 76111-0558               4500 5th Ave S, Bldg A
       SERVED VIA ECF                                                               Birmingham, AL 35222

  Regal Plastics Supply Company, Inc         Reinhart & Associates, Inc.                   Rob Roy Parnell
     9200 N. Royal Ln. Suite 120                 P.O. Box 140105                       c/o G. Stewart Whitehead
        Irving, TX 75063-2468                                                                Winstead, PC
                                              Austin, TX 78714-0105                  401 Congress Avenue Ste 2100
                                                                                        Austin, TX 78701-3798


   Rob Roy Parnell, Receiver                         Roca                          Ruiz Testing Services, Inc
       251 McKellar Road                      11190 NW 25th Street                     10854 Gulfdale St.
Dripping Springs, TX 78620-4884                 Miami, FL 33172                   San Antonio, TX 78216-3607


Rompsen Mortgage Limited Partnership   Rompsen Mortgage Limited Partnership       Rompsen Mortgage Limited Partnership
        c/o Mark T. Michell              162 Cumberland Street, Suite 300                Foley & Lardner LLP
       Foley & Lardner LLP                                                                Attn: Tom Scannell
                                              Toronto, Ontario M5R                 2021 McKinney Avenue, Suite 1600
   600 Congress Ave., Suite 3000
                                               SERVED VIA ECF                           Dallas, TX 75201-3340
      Austin, TX 78701-3056
                                                                                          SERVED VIA ECF
        SERVED VIA ECF
     Schindler Elevator Corp.               Schindler Elevator Corporation          Summer Legacy, LLC
     2020 Centimeter Center                      c/o Barbara Emerson                c/o Kell C. Mercer, PC
                                              Bellinger & Suberg, LLP
     Austin, TX 78758-4956                  12221 Merit Drive, Suite 1750
                                                                                  1602 E. Cesar Chavez Street
       SERVED VIA ECF                          Dallas, TX 75251-2281                Austin, TX 78702-4456
                                                 SERVED VIA ECF                       SERVED VIA ECF
      Sigmax Corporation                           Structures                          Summer Legacy
    321 N. Oakhurst Dr.#602                   6926 N. Lamar Blvd                       P.O. Box 144151
  Beverly Hills, CA 90210-4175               Austin, TX 78752-3508                  Austin, TX 78714-4151


      Sweep Across Texas                        The Bug Master                                Trane
       1512 Dungan Lane                         1912 Smith Rd.                         P.O. Box 845053
     Austin, TX 78754-4022                   Austin, TX 78721-3547                   Dallas, TX 75284-5053
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     Texas Air Industries                 Texas Air, LLC               Texas Crane Service
401 Congress Ave., Suite 111540       c/o Christopher  Stanley       203 S. W.W. White Rd.
                                       Sneed, Vine & Perry
    Austin, TX 78701-4071                 108 E. 8th Street
                                                                   San Antonio, TX 78219-4221
      SERVED VIA ECF               Georgetown, TX 78626-5802           SERVED VIA ECF
                                            SERVED VIA ECF
        Travis County                     Travis County, Texas             Wemberley Metal Buildings
      c/o Jason A. Starks                    P.O. Box 1748                     11914 Radium Street
        P.O. Box 1748                    Austin, TX 78767-1748             San Antonio, TX 78216-2713
   Austin, TX 78767-1748                   SERVED VIA ECF                      SERVED VIA ECF
     SERVED VIA ECF
Wembley Metal Buildings, LLC                 B. Russell Horton                 G. Stewart Whitehead
   c/o Christopher Burwell         George Brothers Kincaid & Horton LLP            Winstead, PC
      230 Pereida Street                 114 West 7th St. Ste. 1100       401 Congress Avenue, Suite 2100
 San Antonio, TX 78210-1145               Austin, TX 78701-3015               Austin, TX 78701-3798
                                            SERVED VIA ECF
     SERVED VIA ECF                                                             SERVED VIA ECF
        Gregory S. Milligan           United States Trustee – AU12
       Chapter 7/11 Trustee          903 San Jacinto Blvd, Suite 230
 Harney Management Partners, LLC
         P.O. Box 90099
                                        Austin, TX 78701-2450
      Austin, TX 78709-0099
        SERVED VIA ECF
